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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                               AMENDED CIVIL MINUTES - GENERAL
 Case No.       21–MC-1019-CAS (JPRx)                                                 Date   January 6, 2022
 Title          FourWorld Event Opportunities, LP et al. v. Houlihan Lokey, Inc.




 Present: The                 Jean P. Rosenbluth, United States Magistrate Judge
 Honorable
                    Bea Martinez                                                CS 1/6/2022
                    Deputy Clerk                                          Court Reporter / Recorder
           Attorneys Present for Petitioner:                        Attorneys Present for Respondent:
             Duane L. Loft (via zoom)                                    Douglas H. Flaum (via zoom)
            Brianna S. Hills (via zoom)                                    Galen Phillips (via zoom)
          Christine Mackintosh (via zoom)                                Alexandra Bargoot (via zoom)
            Ira A. Schochet (via zoom)
              John Kucera (via zoom)
 Proceedings:               (IN COURT): Supplemental Hearing

      Case is called. Counsel make their appearances. The third-party intervenor is represented by
Timothy G. Nelson, who also appears and states his appearance. Court addresses parties. Argument heard.

        For the reasons stated on the record at the hearing, the Court GRANTS Petitioner’s application
for judicial assistance under 28 U.S.C. 1782. Respondent must produce the documents responsive to the
subpoena attached as Exhibit 1 to the Loft Declaration attached to the Supplemental Reply no later than
30 days from the date of the hearing. The deposition of Houlihan’s Rule 30(b)(6) representative must
take place no later than February 28, 2022. The parties are to continue to meet and confer on a
stipulated proposed protective order and submit it to the Court for approval as soon as possible.

       Respondent is advised of its right to seek review of this order under Local Rule 72-2.1 and is
advised that if it does not, this will be the final order of the Court.



         cc: Judge Snyder



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                                                               Initials of Preparer                bm




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